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EXHIBITS CITED TO IN PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY
                               INJUNCTION MOTION
                               (FILED UNDER SEAL)



            DX0952   PX1420    PX3077      PX4044   PX4113    PX12673
            DX2304   PX1573    PX3106      PX4045   PX4114    PX12686
            DX2493   PX1641    PX3112      PX4046   PX4116
            DX2494   PX1654    PX3115      PX4050   PX4120
            DX2495   PX1654B   PX3128      PX4054   PX4126
            DX2497   PX2148    PX3406      PX4055   PX4135
            PX1040   PX2151    PX3421      PX4056   PX4136
            PX1109   PX2157    PX3602      PX4058   PX4138
            PX1110   PX2252    PX3775      PX4059   PX4140
            PX1115   PX2257    PX3776      PX4060   PX4141
            PX1123   PX2315    PX3948      PX4062   PX4143
            PX1125   PX2322    PX3956      PX4063   PX4144
            PX1130   PX2412    PX4010      PX4065   PX4149
            PX1154   PX2419    PX4011      PX4069   PX5003
            PX1164   PX2423    PX4014      PX4071   PX5006
            PX1180   PX2434    PX4015      PX4072   PX5009
            PX1232   PX2441    PX4016      PX4074   PX5010
            PX1240   PX2446    PX4017      PX4075   PX5011
            PX1244   PX2464    PX4018      PX4080   PX5012
            PX1247   PX2478    PX4021      PX4081   PX5014
            PX1249   PX2480    PX4022      PX4083   PX5016
            PX1272   PX2484    PX4024      PX4084   PX5019
            PX1274   PX2490    PX4025      PX4088   PX7002
            PX1281   PX2492    PX4026      PX4089   PX7004
            PX1282   PX2505    PX4027      PX4090   PX7006
            PX1286   PX2545    PX4028      PX4091   PX7008
            PX1291   PX2613    PX4029      PX4095   PX7010
            PX1292   PX2614    PX4030      PX4096   PX7011
            PX1303   PX2615    PX4031      PX4097   PX10007
            PX1308   PX2616    PX4032      PX4101   PX11252
            PX1310   PX2670    PX4034      PX4104   PX11257
            PX1358   PX2777    PX4035      PX4107   PX11276
            PX1361   PX2783    PX4039      PX4109   PX12029
            PX1368   PX2932    PX4040      PX4110   PX12380
            PX1372   PX3068    PX4042      PX4111   PX12392
            PX1381   PX3069    PX4043      PX4112   PX12450



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